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16                              UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18                                  SAN FRANCISCO DIVISION

19

20    IN RE GOOGLE PLAY STORE                  Case No. 3:21-md-02981-JD
      ANTITRUST LITIGATION
21
      THIS DOCUMENT RELATES TO:                DECLARATION OF KURT WILLIAMS
22                                             IN SUPPORT OF GOOGLE’S
      Epic Games Inc. v. Google LLC et al.,    OBJECTIONS TO PROPOSED
23    Case No. 3:20-cv-05671-JD                INJUNCTION
24                                             Judge: Hon. James Donato
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          WILLIAMS DECLARATION ISO GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                            Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
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 1                              DECLARATION OF KURT WILLIAMS

 2          1.      I, Kurt Williams, am Product Manager for Google Play Services at Google. I have

 3 held this role for the past four years, and am responsible for leading product management of

 4 Google Play Services. I make this declaration based on personal knowledge. If called as a witness,

 5 I could testify competently to the facts stated herein.

 6          2.      Google Play Services (“Play services”) is a suite of proprietary software

 7 development kits (SDKs) and application programming interfaces (APIs) that Google has

 8 developed over the last 12 years. Play services is designed to make it easier for Android

 9 developers to develop high-quality Android apps, make it easier for Android OEMs to maintain
10 the devices they sell, and make Android devices work better for users.

11          3.      Play services is proprietary and is provided to developers and OEMs pursuant to a
12 software license. Play services is distinct from and not distributed as part of the open source

13 Android operating system (formally known as the Android Open Source Project or AOSP).

14 Google offers Play services to OEMs as part of the Google Mobile Services (GMS) suite of apps,

15 and developers access the SDKs and APIs in Play services during the development process for

16 Android apps.

17          4.      Google maintains thousands of proprietary APIs in Play services and in dozens of
18 discrete software products. These APIs include: Google Cast, Google Fit, Google Maps, Google

19 Pay, Google Wallet, Google Play Games Services, Google Play Instant, Wear OS, Activity

20 Recognition, Matter, ML Kit, TensorFlow Lite, Nearby, ThreadNetwork, FIDO, Play Integrity

21 API (f/k/a SafetyNet), Security Provider, Firebase Dynamic Links, Google AdMob, Google

22 Analytics for Firebase, Google Tag Manager, Cronet, Firebase Cloud Messaging, Block Store,

23 Google Sign-in, and Location and Context. These APIs represent millions of dollars per year in

24 investments by Google to build and maintain this proprietary software.

25          5.      Several of the APIs in Play services provide access to other proprietary Google
26 products and services. For example, Play services includes an API called FusedLocationProvider

27 that makes it easier for developers to determine a user’s location in tricky environments, such as

28 dense urban centers where tall buildings interfere with traditional GPS data. To solve this
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          WILLIAMS DECLARATION ISO GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
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 1 problem, Google has invested in advanced 3D imaging of cities and maps of known WiFi network

 2 locations. Google continuously maintains this data, and can then combine it with information from

 3 a user’s device to determine a more accurate location.

 4          6.     Other Google APIs provide access to costly cloud computing services, such as the

 5 Play Integrity API, Google Maps, FusedLocationProvider, and Firebase Cloud Messaging, among

 6 others. These cloud services are essential to proper functioning of the APIs and require that an

 7 Android device have the ability to connect to Google’s services. For these APIs, Google imposes

 8 usage limits, charges fees for usage, or both, in order to mitigate overuse, ensure the services

 9 remain operational, and earn a return on Google’s investments in developing and maintaining the
10 APIs.

11          7.     For a variety of reasons, Google has historically not charged for the use of
12 FusedLocationProvider, push notifications, and other APIs in Play services. For example, revenue

13 from the Google Play store helps offset the cost of ongoing development and maintenance of Play

14 services and the vast majority of developers using these services are customers of the Google Play

15 store. In the future, if a significant number of non-Play developers elect to use these APIs or

16 usage patterns become unsustainable, Google may elect to charge for access to Play services.

17          8.     Some of Google’s APIs cannot feasibly be offered on an equal basis to developers
18 who distribute apps outside of the Play store because the API relies on the app having been

19 distributed in the Play store to function properly. For example, the Play Integrity API (formerly

20 known as SafetyNet), includes some functionality to allow the developer to determine if the

21 version of the app installed on a user’s device has been modified since the app was downloaded

22 from Play store. Google could not provide that same feature if an app is not distributed via the

23 Play store.

24          9.     Another example of an API in Play services that is intended for apps distributed via
25 the Play store is the Google Play Game Services API. This API allows developers to enhance

26 games with social leaderboards, achievements, game state, sign-in with Google, and more. By

27 providing this functionality across games available in the Play store, developers are able to more

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 1 easily build games with social functionality, but these features would not provide the same

 2 experience if, for example, the user did not have a Google account.

 3         I declare under penalty of perjury that the foregoing is true and correct. Executed on this

 4 ____
   1st day of May 2024 in Austin,
                          ______________________.
                                  Texas

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 8                                                   KURT WILLIAMS

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